Case 2:15-ml-02668-PSG-SK Document 1413 Filed 06/14/24 Page 1 of 6 Page ID #:52467



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   11

   12                        UNITED STATES DISTRICT COURT
   13                      CENTRAL DISTRICT OF CALIFORNIA
   14

   15   IN RE: NATIONAL FOOTBALL                 Case No.: 2:15-ml-02668−PSG (SKx)
        LEAGUE’S “SUNDAY TICKET”
   16   ANTITRUST LITIGATION
                                                 JOINT STIPULATION TO
   17                                            SUPPLEMENT THE TRIAL
                                                 RECORD WITH PLAYED
   18                                            DEPOSITION DESIGNATIONS
   19   THIS DOCUMENT RELATES TO                 JUDGE: Hon. Philip S. Gutierrez
        ALL ACTIONS
   20                                            COURTROOM: First Street Courthouse
                                                            350 West 1st Street
   21                                                       Courtroom 6A
                                                            Los Angeles, CA 90012
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Case 2:15-ml-02668-PSG-SK Document 1413 Filed 06/14/24 Page 2 of 6 Page ID #:52468




    1          WHEREAS, a jury trial commenced in this action on June 5, 2024;
    2          WHEREAS, during Plaintiffs’ case in chief, Plaintiffs have played deposition
    3   videos for various witnesses containing Plaintiffs’ affirmative deposition
    4   designations and the NFL’s counter designations in accordance with the Court’s
    5   rulings on the parties’ objections regarding those deposition designations;
    6          WHEREAS, the testimony offered in deposition videos is, as a general
    7   practice, not transcribed into the transcript of the trial proceedings;
    8          WHEREAS, the Court instructed the parties, to the extent they desire to
    9   include the testimony from deposition videos in the trial record, to confer and
   10   stipulate to supplement the record with the portions of the depositions that were
   11   played at trial; and
   12          WHEREAS, counsel for Plaintiffs and the NFL Defendants have conferred
   13   and agreed that the attachments to this stipulation reflect the deposition testimony
   14   played in court during Plaintiffs’ case in chief;
   15          NOW THEREFORE, Plaintiffs and the NFL Defendants, by and through
   16   their respective counsel, hereby stipulate and agree, subject to the Court’s approval,
   17   to the following:
   18          1)     The documents attached hereto accurately reflect the deposition
   19   testimony for the following witnesses played in the trial of this matter during
   20   Plaintiffs’ case in chief:
   21                 a)       Attachment 1 – Robert Stecklow (Deposition 9/23/2022), played
   22                          in trial on June 6, 2024;
   23                 b)       Attachment 2 – James Dyckes (Deposition 6/30/2022), played in
   24                          trial on June 6, 2024;
   25                 c)       Attachment 3 – Alex Kaplan (Deposition 11/02/2022), played in
   26                          trial on June 7, 2024;
   27                 d)       Attachment 4 – Robert Kraft (Deposition 6/23/2022), played in
   28                          trial on June 7, 2024;
                      e)       Attachment 5 – Brent Lawton (Deposition 6/22/2022), played in
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Case 2:15-ml-02668-PSG-SK Document 1413 Filed 06/14/24 Page 3 of 6 Page ID #:52469




    1                      trial on June 7, 2024;
    2                f)    Attachment 6 – Hans Schroeder (Deposition 7/29/2022), played
    3                      in trial on June 7, 2024;
    4                g)    Attachment 7 – Hans Schroeder (as corporate representative for
    5                      the NFL Defendants) (Deposition 7/28/2022), played in trial on
    6                      June 11, 2024;
    7                h)    Attachment 8 – Alex Kaplan (Deposition 11/21/2023), played in
    8                      trial on June 12, 2024;
    9                i)    Attachment 9 – Frank Hawkins (Deposition August 2, 2022),
   10                      played in trial on June 12, 2024; and
   11                j)    Attachment 10 – Stephen Smith (as corporate representative for
   12                      Apple) (Deposition 1/11/2024), played in trial on June 12, 2024.
   13         2)     The trial record should be supplemented to reflect the testimony
   14   played to the jury as outlined above.
   15

   16
           Dated: June 14, 2024                 Respectfully submitted,
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Case 2:15-ml-02668-PSG-SK Document 1413 Filed 06/14/24 Page 4 of 6 Page ID #:52470



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Case 2:15-ml-02668-PSG-SK Document 1413 Filed 06/14/24 Page 5 of 6 Page ID #:52471




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Case 2:15-ml-02668-PSG-SK Document 1413 Filed 06/14/24 Page 6 of 6 Page ID #:52472




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    2   All signatories listed, and on whose behalf the filing is submitted, concur in the
        filing’s content and have authorized the filing.
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